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15
                                                  Master Case No. 3:18-cv-01586-JSC
16
     IN RE PACIFIC FERTILITY CENTER
17   LITIGATION                                   [PROPOSED] ORDER GRANTING
18                                                PLAINTIFFS’ MOTION TO
                                                  EXCLUDE EXPERT TESTIMONY
19   This Document Relates to:
20   No. 3:18-cv-01586
     (A.B., C.D., E.F., G.H., and I.J.)
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24                                REDACTED - FILED UNDER SEAL
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